                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                          Plaintiff,

      V.                                             Case No. 16-CR-176

CHRISTOPHER EKLUND,

                          Defendant.



                                 PLEA AGREEMENT



     1.       The United States of America, by its attorneys, Matthew D. Krueger,

United States Attorney for the Eastern District of Wisconsin, and Benjamin W.

Proctor, Assistant United States Attorney, and the defendant, Christopher Eklund,

individually and by attorney John Campion, pursuant to Rule 11(c)(1)(C) of the

Federal Rules of Criminal Procedure, enter into the following plea agreement:

                                       CHARGES

     2.       The defendant has been charged in a two-count superseding

indictment, which alleges violations of Title 18, United States Code, Sections

2252A(a)(2) and 2251(d)(1)(A).

     3.       The defendant has read and fully understands the charges contained

in the indictment. He fully understands the nature and elements of the crimes with

which he has been charged, and the charges and the terms and conditions of the

plea agreement have been fully explained to him by his attorney.



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      4.       The defendant voluntarily agrees to plead guilty to the following count

set forth in full as follows:

                                     COUNT ONE
               THE GRAND JURY CHARGES:
               1.   On or about December 2, 2014, in the State and Eastern
       District of Wisconsin and elsewhere,
                              CHRISTOPHER EKLUND
       knowingly distributed child pornography, as defined in Title 18, United
       States Code, Section 2256(8), including visual depictions of a minor
       engaged in sexually explicit conduct, said child pornography having
       been shipped and transported using any means and facility of interstate
       and foreign commerce, and in and affecting interstate and foreign
       commerce by any means, including by computer
               2.   The child pornography distributed by the defendant
       included images identified by the following partial file name:
        Partial File I                          Description
        "city.jp g"    An image depicting a naked prepubescent female lying
                       on a bed. An unknown male's penis can be seen partially
                       inserted into the prepubescent female's vagina. The
                       word "Maxxx" and an additional word can be observed
                       written on the prepubescent female's stomach.

        "RA13.JPG" An image depicting a prepubescent female wearing a
                   striped top and naked from the waist down. The
                   prepubescent female has her legs spread and the child is
                   using her hands to further expose her vagina.

            All in violation of Title 18, United States Code, Section
       2252A(a)(2).

      5.       The defendant acknowledges, understands, and agrees that he is, in

fact, guilty of the offense described in paragraph 4. The parties acknowledge and

understand that if this case were to proceed to trial, the government would be able

to prove the following facts beyond a reasonable doubt. The defendant admits that

these facts are true and correct and establish his guilt beyond a reasonable doubt:

              For several years continuing through 2016, FBI agents in
       Milwaukee and elsewhere conducted investigations into the sharing of
       child pornography over the Gigatribe peer-to-peer file-sharing
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program. As part of these investigations, FBI agents identified a
Gigatribe user who went by several user names (one at a time),
including "Gigauser55," "Gigadude555," "Gigadude5555," and
"Kingofgiga55," who was advertising and sharing thousands of images
and videos of child pornography to his network of "friends" on
Gigatribe. During the investigation, agents downloaded several child
pornography files directly from this user's computer. Through records
obtained during the investigation, FBI agents were able to identify this
user as Christopher W. Eklund, an American citizen who was teaching
English classes to children in Wuhan, China.

       In addition to making folders containing child pornography files
available to others, Eklund utilized the "blog" and "chat" functions on
Gigatribe to post invitations for others to access his child pornography
collection, request specific child pornography videos from other users,
and write his thoughts about child pornography, sex with children, and
problems with Gigatribe.

      The following is a brief summary of events that occurred during
the investigation that are relevant to the charges in this case.

       On September 10, 2014, an FBI undercover agent in Milwaukee,
Wisconsin, accessed the Gigatribe using a third-party's username that
the agent had obtained by consent. The agent reviewed the list of
contacts on the third-party's account and noticed that user
"Kingofgiga55" was logged onto the network. The agent observed that
Kingofgiga55 had approximately 290 gigabytes of files (images and
videos), the majority of which depicted child pornography, available for
sharing. The agent also reviewed blog posts by Kingofgiga55 on
Gigatribe, in which Kingofgiga55 discusses his collection of child
pornography. One of the blog posts read in part as follows:

      "What the Majority of You Are Not Allowed INTO! [redacted
      link to file]

          If you are in my DEFAULT GROUP, you are missing out on
      half of my collection, and the GOOD HALF TOO. The best stuff
      is reserved for my BEST TRADERS GROUP.


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         Download that image linked above [redacted] to see all the
      folders you are NOT getting access to! The reasons are simple:

      (1)you are only sharing under 20 Gigs of CP [child
        pornography].
      (2)You are half boys and half girls sharing, with hardly any
        unique girl files that stimulate me.
      (3)Your directory organization may be horrible, with files just
        tossed into one single folder that takes 1 hour to even load.
        And by the time I get it loaded, you drop off the internet for
        another 2 weeks.
      (4)You are infrequent users.
      (5)You never chat with me to ask for any advice about which
        files are good, or don't bother to tell me which of your files
        might not appeal to me.
      (6)You have more than ONE PASSWORD for all of your
        materials, making me constantly jump through "hoops" to get
        to your lousy shit in the first place.
      (7)You put all girls and boys stuff in the same folders and don't
        rename the files to indicate if they are MB or Girl related. So
       its just a pile of steaming shit to wade through.

          SO, you are lazy. If you don't see the folder "SPECIAL
      COLLECTION" in your choices, then you belong to this default
      group.
          If you dare to change your problems, and let me know, I will
      update you to Best Trader and you can enjoy all the awesome
      files.
          Thanks for your understanding."

Based on this blog posting, the agent downloaded and reviewed the file
linked in the beginning of post. The file was a screen-shot image
showing approximately 182 folders of Kingofgiga55's hidden "best
traders group" collection of child pornography.

       On December 1, 2014, the FBI agent in Milwaukee again logged
into Gigatribe and observed that Kingofgiga55 was online and had
child pornography files available for sharing. Kingofgiga55's Gigatribe
page had a header stating "Nearly 1TB of Goodies For You!," which
was an advertisement that Kingofigiga55 had nearly one terabyte of
child pornography files available for other users to access and
download.
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       On December 2, 2014, the FBI agent in Milwaukee again logged
onto Gigatribe and observed that "Kingofgiga55" was online. The agent
then downloaded 10 child pornography files directly from
Kingofgiga55's computer. These child pornography files depicted
children under the age of 12 years old engaged in sexually explicit
conduct with adults. Among these images were the following:

       Partial File Name: "city.jpg"
       Description: An image depicting a naked prepubescent female
       lying on a bed. An unknown male's penis can be seen partially
       inserted into the prepubescent female's vagina. The word
       "Maxxx" and an additional word can be observed written on the
       prepubescent female's stomach.

       Partial File Name: "RA13.JPG"
       Description: An image depicting a prepubescent female wearing
       a striped top and naked from the waist down. The prepubescent
       female has her legs spread and the child is using her hands to
       further expose her vagina.

        On July 23, 2015, the FBI agent in Milwaukee again logged into
"Kingotiga55's" account and reviewed the postings under the "chat"
tab. Some of the postings containe.d thumbnail images of child
pornography. In these chat messages, Kingofgiga55 states, among
other things, that: (1) he created a new child pornography video from
various internet clips [with link to the video for others to access]; (2) he
feels ignored by his fellow child pornography collectors on Gigatribe
because they do not often respond to his chat messages; (3) he is upset
with other Gigatribe users in his network because he provides "tons of
shit" [child pornography] for other users to access in a well-organized
manner and the other users do not reciprocate; (4) other child
pornography collectors on Gigatribe will be very upset if he decides to
leave Gigatribe, which would eliminate their access to his extensive
child pornography collection; (5) he had a hard-drive failure but was
able to save all of his child pornography files; (6) he is searching for
[redacted child pornography title] videos; (7) he is a teacher and has a
10-year old female student in his class who he shows child
pornography to and who he wants to have sex with (which he describes
                                  5

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in great detail); and (8) that he has a 7-year old female student in his
class who he shows child pornography to and who he will try to have
sex with when the opportunity arises (which he describes in great
detail).

       Through a review of records and IF logs obtained from public
services, subpoenas, and search warrants, including information from
Yahoo, Gigatribe, PayPal, LinkedIn, and other sources, agents were
able to conclusively tie Kingofgiga55's account to Christopher Eklund,
an American citizen who was teaching English to children in Wuhan,
China. FBI agents then in Milwaukee relayed information to Chinese
authorities regarding their investigation into Eklund. On October 12,
2016, Chinese law enforcement agents arrested Eklund and seized his
computers. During the review of Eklund's computers, Chinese law
enforcement located Eklund's Gigatribe account and observed
thousands of child pornography images and videos. At that time,
Eklund admitted that he used Gigatribe to obtain and share child
pornography files. Eklund was charged by Chinese authorities with
Dissemination of Pornographic Materials in violation of the Criminal
Law of the People's Republic of China. He was found guilty and
sentenced to 18 months in prison.

       On May 10-11, 2018, Eklund was deported from China to the
United States. When he arrived in the United States, Eklund was
taken into federal custody. At that time, Eklund was read his Miranda
warnings and agreed to make a statement to FBI agents. Eklund
admitted that he used Gigatribe and that his user accounts included
"Gigauser55," "Gigadude555," "Gigadude5555," and "Kingofgiga55."
Eklund stated that he enjoyed obtaining new child pornography more
than reviewing his vast child pornography collection, which he said
was over 2 terabytes. Eklund admitted he has been has been addicted
to child pornography since he was a teenager. He further admitted
that he showed child pornography to some of his female students in
China, who were between ages 8 and 10 years old, and touched these
students' genitals through their clothing on occasion.




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       This information is provided for the purpose of setting forth a factual basis

for the plea of guilty. It is not a full recitation of the defendant's knowledge of, or

participation in, the offense.

                                      PENALTIES

      6.        The parties understand and agree that the offense to which the

defendant will enter a plea of guilty carries the following maximum term of

imprisonment and fines: up to 20 years imprisonment and a fine up to 250,000.

The count also carries a mandatory minimum of 5 years of imprisonment. The count

also carries a mandatory special assessment of $100, as well as an additional

special assessment of $5,000 under 18 U.S.C. § 3014(a)(3), unless the defendant is

deemed indigent. The count also carries at least 5 years of supervised release, and a

maximum of life on supervised release. The parties further recognize that a

restitution order may be entered by the court.

      7.        The defendant acknowledges, understands, and agrees that he has

discussed the relevant statutes as well as the applicable sentencing guidelines with

his attorney.

                        DISMISSAL OF REMAINING COUNTS

      8.        The government agrees to move to dismiss the remaining count of the

superseding indictment at the time of sentencing.

                                      ELEMENTS

      9.        The parties understand and agree that in order to sustain the charge

of distribution of child pornography as set forth in Count One, the government must

prove each of the following propositions beyond a reasonable doubt:
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      First, the defendant knowingly distributed a visual depiction; and

      Second, the visual depiction was child pornography; and

      Third, the defendant knew that visual depiction was child
      pornography; and

      Fourth, the visual depiction was transported using any means or
      facility of interstate or foreign commerce.

                            SENTENCING PROVISIONS

     10.     The parties agree to waive the time limits in Fed. R. Crim. P. 32

relating to the presentence report, including that the presentence report be

disclosed not less than 35 days before the sentencing hearing, in favor of a schedule

for disclosure, and the filing of any objections, to be established by the court at the

change of plea hearing.

     11.     The parties acknowledge, understand, and agree that any sentence

imposed by the court will be pursuant to the Sentencing Reform Act, and that the

court will give due regard to the Sentencing Guidelines when sentencing the

defendant.

     12.     The defendant acknowledges and agrees that his attorney has

discussed the potentially applicable sentencing guidelines provisions with him to

the defendant's satisfaction.

     13.     The parties acknowledge and understand that prior to sentencing the

United States Probation Office will conduct its own investigation of the defendant's

criminal history. The parties further acknowledge and understand that, at the time

the defendant enters a guilty plea, the parties may not have full and complete

information regarding the defendant's criminal history. The parties acknowledge,
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understand, and agree that the defendant may not move to withdraw the guilty plea

solely as a result of the sentencing court's determination of the defendant's criminal

history.

                          Sentencing Guidelines Calculations

     14.       The defendant acknowledges and understands that the sentencing

guidelines recommendations contained in this agreement do not create any right to

be sentenced within any particular sentence range, and that the court may impose a

reasonable sentence above or below the guideline range. The parties further

understand and agree that if the defendant has provided false, incomplete, or

inaccurate information that affects the calculations, the government is not bound to

make the recommendations contained in this agreement.

                                  Relevant Conduct

     15.       The parties acknowledge, understand, and agree that pursuant to

Sentencing Guidelines Manual ("U.S.S.G") § 1B1.3, the sentencing judge may

consider relevant conduct in calculating the sentencing guidelines range, even if the

relevant conduct is not the subject of the offense to which the defendant is pleading

guilty.

                                  Base Offense Level

     16.       The parties agree to recommend to the sentencing court that the

applicable base offense level for the offense charged in Count One is 22 under

U.S.S.G. § 2G2.2(a)(2).




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                           Specific Offense Characteristics

     17.     The parties agree to recommend to the sentencing court that the

following adjustments are applicable: a 2-level increase for material involving a

prepubescent minor who had not attained the age of 12 under U.S. Sentencing

Guidelines § 2G2.2(b)(2); a 2-level increase for distribution under § 2G2.2(b)(3)(F); a

4-level increase for sadistic and masochistic conduct under § 2G2.2(b)(4); a 2-level

increase for use of a computer under § 2G2.2(b)(6); and a 5-level increase for more

than 600 images under 2G2.2(b)(7)(D).

                             Acceptance of Responsibility

     18.     The government agrees to recommend a two-level decrease for

acceptance of responsibility as authorized by Sentencing Guidelines Manual

§ 3E1.1(a), but only if the defendant exhibits conduct consistent with the acceptance

of responsibility. In addition, if the court determines at the time of sentencing that

the defendant is entitled to the two-level reduction under § 3E1.1(a), the

government agrees to make a motion recommending an additional one-level

decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the

defendant timely notified authorities of his intention to enter a plea of guilty.

                            Sentencing Recommendations

     19.     Both parties reserve the right to provide the district court and the

probation office with any and all information which might be pertinent to the

sentencing process, including but not limited to any and all conduct related to the

offense as well as any and all matters which might constitute aggravating or

mitigating sentencing factors.
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     20.     Both parties reserve the right to make any recommendation regarding

any and all factors pertinent to the determination of the sentencing guideline range;

the fine to be imposed; the amount of restitution and the terms and condition of its

payment; the length of supervised release and the terms and conditions of the

release; the defendant's custodial status pending the sentencing; and any other

matters not specifically addressed by this agreement.

     21.     The government agrees to recommend a sentence within the applicable

sentencing guideline range, as determined by the court. The defendant agrees to

recommend a sentence that includes no less than 96 months of imprisonment. The

defendant agrees that his recommendation already accounts for the approximately

18 months he spent in Chinese custody between October 2016 and May 2018. The

parties understand that under Federal Rule of Criminal Procedure 11(c)(1)(C), if the

Court accepts the defendant's guilty plea, the Court will be obligated to impose a

sentence that includes a term of imprisonment that is no less than 96 months and

no more than the top of the sentencing guidelines range, as determined by the

Court.

                       Court's Determinations at Sentencing

     22.     The parties acknowledge, understand, and agree that neither the

sentencing court nor the United States Probation Office is a party to or bound by

this agreement. The United States Probation Office will make its own

recommendations to the sentencing court. The sentencing court will make its own

determinations regarding any and all issues relating to the imposition of sentence

and may impose any sentence authorized by law up to the maximum penalties set
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forth in paragraph 6 above. The parties further understand that the sentencing

court will be guided by the sentencing guidelines but will not be bound by the

sentencing guidelines and may impose a reasonable sentence above or below the

calculated guideline range.

     23.        The parties acknowledge, understand, and agree that the defendant

may not move to withdraw the guilty plea solely as a result of the sentence imposed

by the court.

                                FINANCIAL MATTERS

     24.        The defendant acknowledges, and understands that any and all

financial obligations imposed by the sentencing court are due and payable in full

upon entry of the judgment of conviction. The defendant further understands that

any payment schedule imposed by the sentencing court shall be the minimum the

defendant is expected to pay and that the government's collection of any and all

court imposed financial obligations is not limited to the payment schedule. The

defendant agrees not to request any delay or stay in payment of any and all

financial obligations. If the defendant is incarcerated, the defendant agrees to

participate in the Bureau of Prisons' Inmate Financial Responsibility Program,

regardless of whether the court specifically directs participation or imposes a

schedule of payments.


     25.        The defendant agrees to provide to the Financial Litigation Unit

(FLU) of the United States Attorney's Office, upon request of the FLU during any

period of probation or supervised release imposed by the court, a complete and

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sworn financial statement on a form provided by FLU and any documentation

required by the form.

                                   Special Assessment

     26.        The defendant agrees to pay the special assessment in the amount of

$100 prior to or at the time of sentencing.

                                       Restitution

     27.        The defendant agrees to pay restitution as may be ordered by the

court. The defendant understands that because restitution for the offense is

mandatory, the amount of restitution shall be imposed by the court regardless of

the defendant's financial resources. The defendant agrees to cooperate in efforts to

collect the restitution obligation. The defendant understands that imposition or

payment of restitution will not restrict or preclude the filing of any civil suit or

administrative action.

                         DEFENDANTS WAIVER OF RIGHTS

     28.        In entering this agreement, the defendant acknowledges and

understands that he surrenders any claims he may have raised in any pretrial

motion, as well as certain rights which include the following:

           a.      If the defendant persisted in a plea of not guilty to the charges
                   against him, he would be entitled to a speedy and public trial by a
                   court or jury. The defendant has a right to a jury trial. However, in
                   order that the trial be conducted by the judge sitting without a jury,
                   the defendant, the government and the judge all must agree that
                   the trial be conducted by the judge without a jury.

           b.      If the trial is a jury trial, the jury would be composed of twelve
                   citizens selected at random. The defendant and his attorney would
                   have a say in who the jurors would be by removing prospective
                   jurors for cause where actual bias or other disqualification is
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                   shown, or without cause by exercising peremptory challenges. The
                   jury would have to agree unanimously before it could return a
                   verdict of guilty. The court would instruct the jury that the
                   defendant is presumed innocent until such time, if ever, as the
                   government establishes guilt by competent evidence to the
                   satisfaction of the jury beyond a reasonable doubt.

           c.      If the trial is held by the judge without a jury, the judge would find
                   the facts and determine, after hearing all of the evidence, whether
                   or not he was persuaded of defendant's guilt beyond a reasonable
                   doubt.

           d.     At such trial, whether by a judge or a jury, the government would
                  be required to present witnesses and other evidence against the
                  defendant. The defendant would be able to confront witnesses upon
                  whose testimony the government is relying to obtain a conviction
                  and he would have the right to cross-examine those witnesses. In
                  turn the defendant could, but is not obligated to, present witnesses
                  and other evidence on his own behalf. The defendant would be
                  entitled to compulsory process to call witnesses.

           e.     At such trial, defendant would have a privilege against self-
                  incrimination so that he could decline to testify and no inference of
                  guilt could be drawn from his refusal to testify. If defendant desired
                  to do so, he could testify on his own behalf.

     29.        The defendant acknowledges and understands that by pleading guilty

he is waiving all the rights set forth above. The defendant further acknowledges the

fact that his attorney has explained these rights to him and the consequences of his

waiver of these rights. The defendant further acknowledges that as a part of the

guilty plea hearing, the court may question the defendant under oath, on the record,

and in the presence of counsel about the offense to which the defendant intends to

plead guilty. The defendant further understands that the defendant's answers may

later be used against the defendant in a prosecution for perjury or false statement.

     30.        The defendant acknowledges and understands that he will be

adjudicated guilty of the offense to which he will plead guilty and thereby may be
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deprived of certain rights, including but not limited to the right to vote, to hold

public office, to serve on a jury, to possess firearms, and to be employed by a

federally insured financial institution.

     31.     The defendant knowingly and voluntarily waives all claims he may

have based upon the statute of limitations, the Speedy Trial Act, and the speedy

trial provisions of the Sixth Amendment. The defendant agrees that any delay

between the filing of this agreement and the entry of the defendant's guilty plea

pursuant to this agreement constitutes excludable time under the Speedy Trial Act.

     32.     Based on the government's concessions in this agreement, the

defendant knowingly and voluntarily waives his right to appeal his sentence in this

case and further waives his right to challenge his conviction or sentence in any post-

conviction proceeding, including but not limited to a motion pursuant to 28 U.S.C.

§ 2255. As used in this paragraph, the term "sentence" means any term of

imprisonment, term of supervised release, term of probation, supervised release

condition, fine, forfeiture order, and restitution order. The defendant's waiver of

appeal and post-conviction challenges includes the waiver of any claim that (1) the

statutes or Sentencing Guidelines under which the defendant is convicted or

sentenced are unconstitutional, and (2) the conduct to which the defendant has

admitted does not fall within the scope of the statutes or Sentencing

Guidelines. This waiver does not extend to an appeal or post-conviction motion

based on (1) any punishment in excess of the statutory maximum, (2) the sentencing

court's reliance on any constitutionally impermissible factor, such as race, religion,

or sex, (3) ineffective assistance of counsel in connection with the negotiation of the
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plea agreement or sentencing, or (4) a claim that the plea agreement was entered

involuntarily.

                        Further Civil or Administrative Action

     33.     The defendant acknowledges, understands, and agrees that the

defendant has discussed with his attorney and understands that nothing contained

in this agreement, including any attachment, is meant to limit the rights and

authority of the United States of America or any other state or local government to

take further civil, administrative, or regulatory action against the defendant,

including but not limited to any listing and debarment proceedings to restrict rights

and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                           MISCELLANEOUS MATTERS

     34.     Pursuant to 18 U.S.C. § 3583(d), the defendant has been advised and

understands the court shall order as a mandatory condition of supervised release,

that the defendant comply with state sex offender registration requirements. The

defendant also has been advised and understands that under the Sex Offender

Registration and Notification Act, a federal law, he must register and keep the

registration current in each of the following jurisdictions: the location of his

residence; the location of his employment; and, if he is a student, the location of his

school. Registration will require that the defendant provide information that

includes, name, residence address, and the names and addresses of any places at

which he will be an employee or a student. The defendant understands that he must

update his registration not later than three business days after any change of name,
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residence, employment, or student status. The defendant understands that failure

to comply with these obligations may subject him to prosecution for failure to

register under federal law, 18 U.S.C. § 2250, which is punishable by a fine and/or

imprisonment.

                                 GENERAL MATTERS

     35.      The parties acknowledge, understand, and agree that this agreement

does not require the government to take, or not to take, any particular position in

any post-conviction motion or appeal.

     36.      The parties acknowledge, understand, and agree that this plea

agreement will be filed and become part of the public record in this case.

     37.      The parties acknowledge, understand, and agree that the United

States Attorney's office is free to notify any local, state, or federal agency of the

defendant's conviction.

     38.      The defendant understands that pursuant to the Victim and Witness

Protection Act, the Justice for All Act, and regulations promulgated thereto by the

Attorney General of the United States, the victim of a crime may make a statement

describing the impact of the offense on the victim and further may make a

recommendation regarding the sentence to be imposed. The defendant

acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

           EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

     39.      The defendant acknowledges and understands if he violates any term

of this agreement at any time, engages in any further criminal activity prior to
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sentencing, or fails to appear for sentencing, this agreement shall become null and

void at the discretion of the government. The defendant further acknowledges and

understands that the government's agreement to dismiss any charge is conditional

upon final resolution of this matter. If this plea agreement is revoked or if the

defendant's conviction ultimately is overturned, then the government retains the

right to reinstate any and all dismissed charges and to file any and all charges

which were not filed because of this agreement. The defendant hereby knowingly

and voluntarily waives any defense based on the applicable statute of limitations for

any charges filed against the defendant as a result of his breach of this agreement.

The defendant understands, however, that the government may elect to proceed

with the guilty plea and sentencing. If the defendant and his attorney have signed a

proffer letter in connection with this case, then the defendant further acknowledges

and understands that he continues to be subject to the terms of the proffer letter.

                   VOLUNTARINESS OF DEFENDANTS PLEA

     40.     The defendant acknowledges, understands, and agrees that he will

plead guilty freely, and voluntarily because he is in fact guilty. The defendant

further acknowledges and agrees that no threats, promises, representations, or

other inducements have been made, nor agreements reached, other than those set

forth in this agreement, to induce the defendant to plead guilty.




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                             ACKNOWLEDGMENTS
I am the defendant. I am entering into this plea agreement freely and voluntarily. I
am not now on or under the influence of any drug, medication, alcohol, or other
intoxicant or depressant, whether or not prescribed by a physician, which would
impair my ability to understand the terms and conditions of this agreement. My
attorney has reviewed every part of this agreement with me and has advised me of
the implications of the sentencing guidelines. I have discussed all aspects of this
case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:   /0-23-20‘V
                                            ISTOl
                                       Defendant
                                                         e
                                                         te/LLAsel
                                                         E R EKLUND



I am he defendant's attorney. I carefully have reviewed every part of this
agreement with the defendant. To my knowledge, my client's de ion to enter into
this agreement is an informed and voluntar •ne.



Date:   /:(1


For the United States of America:



Date:
                                      -MATTHEW D KRUEGER
                                      United States Attorney



Date: (.0                                  „...‘"01.1T

                                       ENJAMIN W. PROCTOR
                                      Assistant United States Attorney



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Date:004   2 1 2.od
                              RALPH PARADISO
                              Trial Attorney, U.S. Dept. of Justice
                              Child Exploitation. and Obscenity Section




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